 

Case 1:07-cv-040 1-SAS Document1 Fi / 007 Pa%‘e UW|C|AL PANEL ON
AWEWUEWW JUDGE SCHE&§UU\§\ ULTlDlSTH\cT LlT\GATloN

 
   

 

 

 

 

 

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BEFORE THE JUDICIAL PANEL ONMULTIDISTRICTLITIGATION

INRE METHYL TERTIARYBUTYL ETHER ("MTBE") PRODUCTSLIABILITY
LITIGATION

/ Homosassa Water District v. Amerada Hess Corp., et al., l\/I.D. Florida, C.A. No. 5107-1 13
x City ofInverness Water District v. Amerada Hess Corp., et al., M.D. Florida, C.A. No. 5:()7-114’it
g Tarnpa Bay Water v. Amerada Hess Corp., et al., M.D. Florida, C.A. No. 8107-516 @)

CONDITIONAL TRANSFER ORDER (CTO-25)

On October 10, 2000, the Panel transferred two civil actions to the United States District Court for the
Southern District of New York for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.
§ 1407. Since that time, 143 additional actions have been transferred to the Southern District of New

York. With the consent of that court, all such actions have been assigned to the Honorable Shira Ann
Scheindlin.

lt appears that the actions on this conditional transfer order involve questions of fact that are common to
the actions previously transferred to the Southern District of New York and assigned to Judge Scheindlin.

Pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel on Multidistrict Litigation, 199 F.R.D.
425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the Southern District ofNew
York for the reasons stated in the order of October 10, 2000, and, with the consent of that court, assigned
to the Honorable Shira Ann Scheindlin.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Southern District of New York. The transmittal of this order to said Clerk shall be stayed 15
days from the entry thereof lf any party files a notice of opposition with the Clerk of the Panel within this
15-day period, the stay will be continued until further order of the Panel.

 

 

 

 

FOR THE PANEL:
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MAY 1 8 2007 J, MICHAEL McMAHoN, _ , _.` CLERK

 

 

 

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